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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

   B.W., a deceased minor, through *               NO. 20-CV-00901
   representatives LATOYA CARNEY,  *
   and BYRON WILSON, SR.           *               SECTION: “I-03”
                                   *
   VERSUS                          *                HON. LANCE M. AFRICK
                                   *
   CITY OF NEW ORLEANS, SHAUN      *                MAG. DANA DOUGLAS
   FERGUSON, ALEX MIKKELSEN,       *
   JONATHAN BROOM, JEFFREY         *
   HARRINGTON, ALEX FLORIAN,       *
   COLBY STEWART, STEPHEN          *
   NGUYEN, ABC Insurance Companies *
   1-10, DOE DISTRICT              *
   COMMANDER, and DOES 1-10        *
                                   *
                                   *
    ************************


                                 NOTICE OF SUBMISSION



       Please take notice of the attached Motion to Dismiss to this Court, the Honorable Lance

M. Africk presiding, United States Courthouse, 500 Poydras St., room C405, New Orleans,

Louisiana, on the 24th day of June, 2020 at 9:00 a.m.



                                            Respectfully submitted:
                                            /s/ Darren P. Tyus_____________
                                            DARREN P. TYUS, LSB #30772
                                            ASSISTANT CITY ATTORNEY
                                            CORWIN ST. RAYMOND, LSB #31330
                                            DEPUTY CITY ATTORNEY
                                            CHURITA H. HANSELL, LSB #25694
                                            CHIEF DEPUTY CITY ATTORNEY
                                            DONESIA D. TURNER, LSB #23338
                                            SENIOR CHIEF DEPUTY CITY ATTORNEY
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                              SUNNI J. LEBEOUF, LSB #28633
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                              Superintendent Shaun D. Ferguson, and Sergeant
                              Stephen Nguyen
